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                         United States Bankruptcy Court
                           Southern District of Florida

In re: Orlando Morales                                      Case No: 18-15790-LMI
                           Debtor

This response is brought
by:                          Debtor                         Chapter 13


    RESPONSE IN OPPOSITION TO OBJECTION TO CONFIRMATION OF PLAN

   Debtor, Orlando Morales, by and through counsel, responds to the Objection to

Confirmation of Plan [DE 17] (hereinafter “Objection”) as follows:

   1. On June 6, 2018, BSI Financial Services, as Servicing agent for DLJ Mortgage

      Capital, Inc. (hereinafter “Creditor”) filed an Objection to Confirmation of Plan,

      predicated on the plan not paying 31 percent of Debtor’s gross income of

      $10,000 pursuant to the MMM program.

   2. 31 percent of $10,000 equals $3,100.00. Instead, Debtor is paying $2,489.00

      per month.

   3. The Mortgage Modification Mediation Procedures requires that the plan include,

      among other provisions, the following language: “While the MMM is pending and

      until the trial/interim payment plan or the permanent mortgage

      modification/permanent payment is established by the parties, absent Court

      order to the contrary, the debtor has included a postpetition monthly plan

      payment (a) with respect to the debtor’s homestead, of no less than the lower of

      the prepetition monthly contractual mortgage payment or 31% of the debtor’s

      gross monthly income (after deducting any amount paid toward HOA fees

      due for the property) and (b) with respect to income producing property, of no


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      less than 75% of the gross income generated by such property, as a good faith

      adequate protection payment to the lender. All payments shall be considered

      timely upon receipt by the trustee and not upon receipt by the lender”.

   4. The MMM Procedures prescribe reducing MMM payment payments of 31

      percent of Debtor’s gross income by the amount paid for HOA fees.

   5. The property in question is subject to HOA fees of $611.00 as is reflected on

      Schedule J, paid to Royal Harbour Yacht Club; $3,100 minus $611.00 equals

      $2,489.00, the amount paid to Creditor in the plan.

   WHEREFORE, Debtor, Orlando Morales, requests that the Court deny Creditor’s

Objection to Confirmation of Plan [DE 17].

    I HEREBY CERTIFY that a copy of the foregoing motion was served by ECF on July
1, 2018 on: Chase A Berger on behalf of Creditor BSI Financial Services, as Servicing
Agent for DLJ Mortgage Capital, Inc.
CBerger@ghidottiberger.com, rbecker@ghidottiberger.com,
areyes@ghidottiberger.com


 CERTIFICATE PURSUANT TO LOCAL               Rodriguez Law, P.L.
 RULE 9011-4(B)                              Counsel for the Debtor
                                             6600 Cow Pen Road, Suite 220
 I HEREBY CERTIFY that I am admitted         Miami Lakes, FL 33014
 to the Bar of the United States District    Telephone: 305-262-8226
 Court for the Southern District of Florida  Facsimile: 305-262-8229
 and I am in compliance with the additional
 qualifications to practice in this Court set /s/ Ricardo A Rodriguez
 forth in Local Rule 2090-1(A).               Ricardo A Rodriguez, Esq., FBN 0496901




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